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                               UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                  JACKSONVILLE DIVISION

     WINN-DIXIE STORES, INC.,

                      Plaintiff,                        Case No. 03:15-cv-1143-BJD-JBT

             v.

     SOUTHEAST MILK, INC., et al.,

                      Defendants.



                                   NOTICE OF FILING (DOC. 370)

            Defendants, by and through undersigned counsel, pursuant to the Court’s Order

    dated December 13, 2019 (Doc. 370), hereby give notice of filing with the clerk’s office

    hard copy, unredacted versions of the following documents, which will be kept under

    seal:

     Doc. No.     Ex.      Description
     321                   Defendants’ Motion in Limine to Exclude From Evidence the
                           Opinions and Work product of Dr. Scott Brown and Supporting
                           Memorandum of Law
     322          4        Excerpts from the deposition testimony of Dr. John M. Connor,
                           taken on June 22, 2018. The complete transcript was previously
                           filed under seal with the Court. (See Doc. 287.)
     322          6        Excerpts from the deposition testimony of Dr. John M. Connor,
                           taken on February 13, 2018. The complete transcript was
                           previously filed under seal with the Court. (See Doc. 287.)
     325          1        Excerpts from the deposition testimony of Joseph Wright, Vol. 1,
                           taken on December 12, 2017. The complete transcript was
                           previously filed under seal with the Court. (See Doc. 287.)
     325          3        Excerpts from the deposition testimony of Graham Leary, Vol. 1,
                           taken on March 6, 2018. The complete transcript was previously
                           filed under seal with the Court. (See Doc. 287.)
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     325          4     Excerpts from the deposition testimony of Graham Leary, Vol. 2,
                        taken on March 6, 2018. The complete transcript was previously
                        filed under seal with the Court. (See Doc. 287.)


           Please take notice that the following exhibits included in the Court’s Order (Doc.

    370) have already been filed publicly:

     Doc. No.     Ex.   Description
     322          3     Excerpts from the deposition testimony of Dr. Scott Brown, taken
                        on November 7, 2014 in Edwards v. National Milk Producers
                        Federation, No. 3:11-cv-04766-JSW (N.D. Cal.)
     325          2     Excerpts from the deposition testimony of Joseph Wright, Vol. 2,
                        taken on December 12, 2017.
     325          5     Excerpts from the deposition testimony of Calvin Covington, Vol
                        1, taken on December 6, 2017.


    The complete transcript of each of the foregoing depositions was previously filed under

    seal with the Court (See Doc. 287.)

    DATED:         December 18, 2019            Respectfully submitted,

                                                    By: /s/ Cindy A. Laquidara


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                                  CERTIFICATE OF SERVICE

            I hereby certify that on December 18, 2019, I electronically filed the foregoing with

    the Clerk of Court pursuant to the Administrative Procedures for Electronic Filing in Civil

    and Criminal Cases of this Court by using the CM/ECF System, which will send a notice

    of electronic filing to all counsel of record.


                                                     /s/ Cindy A. Laquidara

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                                                     Producers Federation; Southeast Milk, Inc.;
                                                     Dairy Farmers of America, Inc.;
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